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V.                                            O RD ER


OSHAY TERREL JON ES,                          By: M ichaelF.U tbansld
             D efendant.                      United StatesDistrictJudge
      In accordancew1t.11the accom panying M em orandum Opinion,itishereby

                           AW UDGED andORDEM D
thatthegovernmentpsmotion to disnaiss(ECF No.475)isGRANTED;JOneS'motion and
am ended moéonstovacate,setaside,orcorrectllissentencepursuantto28U.S.C.j2255
(ECF N o.448452,& 464)areDISM ISSED;acerto cateofappealabilityisDEN IED;and
thisaction shallbe ST RICKEN from theactive docketofthiscourt.

      The Clerk shallsend copiesofthisO rdezand the accom panying M em orandum

opinion to theparties.

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